   Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD PageExhibit
                                                                 1 of 36 A


0 .CT Corporation                                                           Service of Process
                                                                            Transmittal
                                                                            04111/2019
                                                                            CT Log Number 5352n327
   TO:     Serviceof Process
           CVS Health Companies
           1 Cvs Dr Mail Code 1160
           Woonsocket, RI 02895-6146

   RE:     Process Served in Mississippi

   FOR:    CVS Pharmacy, Inc. (Domestic State: RI)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECENED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


   TITLE OF ACTION:                 JOHNSON COUNTY, PLTF. vs. PURDUE PHARMA, LP., ET AL. , DITT. I I TO: CVS
                                    HEALTH
                                    Name discrepancy noted.
   DOCUMENT(S) SERVED:              Letter, Citation, Return, Petition
   COURT/AGENCY:                    Johnson County - 18th District Court, .
                                    Case # 201887346
   NATURE OF ACTION:                 Product Liability Litigation - Drug Litigation - Opioids
   ON WHOM PROCESS WAS SERVED:      C T Corporation System, Flowood, MS
   DATE AND HOUR OF SERVICE:         By Certified Mail on 04/11/2019 postmarked on 04/08/2019
   JURISDICTION SERVED :            Mississippi
   APPEARANCE OR ANSWER DUE:         By 10:00 a.m. on the Monday next following the expiration date of 30 days after you
                                     were served this citation and petition
   ATTORNEY(S) / SENDER(S):         Matthew R. Mccarley
                                    Fears Nachawatl, PLLC
                                    4925 Greenville Avenue, Suite 715
                                    Dallas, TX 75206
                                    214-890-0711
   REMARKS:                          Please note eve n though the documents are directed to CVS HEALTH , our records
                                     indicate t hat we are agent for all entities beginning with this name and they all
                                     share the same delivery instructions.
   ACTION ITENS:                     CT has retained the current log, Retain Date: 04/ 12/ 2019, Expected Purge Date:
                                     04/ 17/2019
                                       Image SOP
                                     Email Notification, Serviceof Process Service_of_Process@cvs.com

   SIGNED:                           C T Corporation System
   ADDRESS:                          645 Lakeland East Drive
                                     Suite 101
                                     Flowood, MS 39232
   TELEPHONE:                        214-932-3601




                                                                             Pa ge 1 of 1 / AV
                                                                             lnfonnatlon displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and Is provided to
                                                                             the recipient for quick reference. This infonnatlon does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any lnfonnatlon
                                                                             contained In the documents themselves. Recipient is
                                                                             responsible for interpl1'tlng said documents and for taking
                                                                             appropriate action. S1gnatul1's on certified mall receipts
                                                                             confirm receipt of package only, not contents.
                                                           Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 2 of 36                                                                                        1(         - • FIRS T- CLASS W.1L
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             Austin, Tcxiis 78711-2079
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                                                            P.O. Box 12079
                                                            Austin. Texas 78711-2079


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                                                             Return Receipt (Electronic)




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                                                            2019303331-8
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                                                            CVS Health
                                                            c/o CT Corporation System
                                                            645 Lakeland East Drive, Suite 101
                                                  \_
                                                            Flowood, MS 39232
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      Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 3 of 36


                                  The State of Texas

Service of Process                                                                 Phone: 512-463-5560
P.O. Box 12079                                                                       Fax:5 12-463-0873
Austin, Texas 78711-2079                                                  Dial 7-1-1 For Relay Services
                                                                                 www.sos.state.tx.us
                                       David Whitley
                                      Secretary of State


April 5, 2019                                                                2019-303331-8

                                                                        Include reference number
CVS Health                                                                in all correspondence
c/o CT Corporation System
645 Lakeland East Drive, Suite t Ot
Flowood, MS 39232


RE:       Johnson County VS Purdue Pharma LP
          I52nd Judicial District Court Of Harris County, Texas
          Cause No. 201887346




Dear Sir/Madam,

Pursuant to the Laws of Texas, we forward herewith by CERTIFIED MAIL, return receipt
requested, a copy of the process received by the Secretary of State of the State of Texas on April
5, 2019.

CERTIFIED MAIL #7190 I 0464 70 l 0 103 13 l 7

Refer correspondence to:

Matthew R. McCarley
Fears Nachawati, PLLC
4925 Greenville Avenue, Suite 71 S
Dallas, TX 75206

Sincerely,

Service of Process
Government Filings
512-463-1662
GF/mr
Enclosure
               Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 4 of 36


                                                   CAUSE NO. 20 1887346

 COP)· (ll' f'Lt.::ADING PROVll)EI) BY PLT

                                                                                                            RECEIPT NO.
 760908
                                                                                                      TRACKING NO: 73593211
       ff:
 Pia inti                                                                                           In The 152nd Judicial DisLrict
 JOHNSON COUNTY                                                                                     Court of Ha1Tis County. Texas
 vs.
 Defendant:
 PURDUE PHARMA LP                                                                                                 Houston. Texas

                         CITATION THROUGH THE SECRETARY OF THE STATE OF TEXAS

 THE STA TE OF TEXAS
 County of Harris

 To:      CVS HEALTH (A DELAWARE CORPORATION) 8 Y SERVING THE SECRETARY OF THE STATE OF
 TEXAS
          PO BOX 12079, A US T IN TX 78711-2079

          Auachcd is a copy of: PLAINTIFF'S ORIGINAL PETITION .

. This instrume11t was filed on December 18, 2018 in the above cited cause number and court. The instrument attached
  dcscrihes the claim against you.

         YOU HA VE BEEN SUED. You may employ an attorney. lf you or your attorney do not file a written answer with
 the District Clerk who issued thi s citation by 10:00 a.m. on the Monday next following the expiration date of 30 days ..iftcr
 you were served thi s citation and petition, a default judgment may he taken against you.

          This ciwtion was issued on f!'.!brna.ry 22, 2019, under my hand and seal of said court.




 Issued at the request of:                                                            Marilyn Burgess, District Clerk
 McCartcy. Matthew R .                                                                Harrrs County. Texas
 4925 Greenville Ave.                                                                 201 Caroline, Houston Texas 77002
 Dallas. TX 75206                                                                     (PO Box 465 I, Houston, Tex:i~ 77210)
 2 14-890-07 .l 1
 Bar Number 24041426

                                                                                      Generated By: ANITA PEREZ




                                                                            RECEIVED
                                                                     SECRETARY OF STATE

                                                                            APR O5 2019

                                                                      Service of Process



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             Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 5 of 36




                                                                             Tracking Number: 735932 10




                                                CAUSE NUMl:IER: 201887346


PLA I NTI FF: JOHNSON COUNTY                                                         In the 152nd
    vs.                                                                              Judicial Dis lricl Court of
DEFl'..NDANT: PURDUE PHARMA L P                                                      Ha rris County, Texas



OrFICER • AUTHOR IZED PERSON RETURN

Came to hand at _ __        o'clock _   .M. on the _ _ _ _ day of _ __ _ __ __ __ _, 20_ _ . Executed at

Add re s . . ~ ) - - - - - - - - - -- - - - , , - - - - - - - -- - -- -- - -- - - - - -- - in
_ _ __ _ __ _ __ County at o'clock _ .M. on the _ __ _ day of _ _ _ _ __ _ _ _ ___. 20_ _, hy

Summoning the                                                                                                          Delivering   to

_ __ _ _ __ _ __ _ __ _ _ _ _ __ _ _ _                     in person   a   corporation By leaving in the principal o ffice during
office hours _ _ __ _ _ __ _ _ _ _ _ _ of the said _ __ __ _ _ __ __ __ _ _ _ _ a true copy of chis
notice. rogether with accompanying copy of                                                                         To ccrcify which I
:tffo; my hand officially this _ _ _ _ _ __ day of _ _ _ _ __ __ _ _ _ _ __ _ , 20_                        .

Fees$_ _ __ __ _ __ __ _


                                                                 By_ _ __ _ _ __ _ __ _ _ __ _ __
                Affiant                                                                                Deputy
On 1his day. _ __ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ __ __, known to me co be the person whose signatllre
1Jp pcars on the foregoing return, personally appeared. After being by me du ly sworn, he/she stated that this citation was
executed by him/her in the exact manner recited on the return.

SWORN TO ANO SUBSCRIBED BEFORE ME,-On this _ __ day of _ __ _ _ _ __ _ _ _ _ _. 20_


                                                                             Notar y Public
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 6 of 36
                      DC-C201800848 - Johnson County • 18th District Court



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                                                                                  Chris Daniel • t:l1s~~
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                                                                                             • Filed: 12/1812018 9:36 AM
                                       DC-C201800848
                      Cause No. _ __ __ _ _ _ __ __

JOHNSON COUNTY                                    '§                    IN THE DISTRICT COURT
                                                   §
     PLAINTIFF,                                     §             Johnson County - 18th District Court
                                                    §
V.                                                  §                         JUDICIAL DISTRICT
                                                    §
PURDUE PHARMA, LP. ET AL                            §
                                                    §
                                                                              CERTIFIEQ..COPY                 30      PG(S)
     DEFENDANTS.                                    §                        O ; JOH~~1lkP~URT
                                                    §

                                                                                        DEC 17, 2018
                       PLAIN IFF'S ORIGINAL PETITIO
                                                                                      DAVID R. LLOYD
TO THE HONOlv\BLEJUDGE OF SAID COURT:

       Comes Now the Plaintiff: The County of.Johnson Texas ("Johnson County" or the

"County"), by and through the undersigned attorneys and on behalf of the County Attorney

for Johnson County, and for cause of action would respectfully show che Court and jury as

follows :

                              DISCOVERY CONTROL PLAN

        1.    Discovery is intended to be conducted under level 3 of }~ule 190, l'i::X,\S

RULES or- CIVIL PROCEDURE.

                                CONDITIONS PRECEDENT

        2.    P laintiff alleges that all conditions precedent have been performed or have

occurred.

               RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

        3.    Per Ruic 47 of the Texas Rules of Civil Procedure, the County states that
       Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 7 of 36




       Defendants' acts and omissions exceed $1,000,000 but are believed to be less than

       100,000,000. Accordingly, at this time in the litiga tio n, Johnson County states that it is

       seeking mo netary relief for an am ount greater than $1,000,000 and less than $100,000,000,

       the rightful and just amount to be determined by the jury.

                                                 PARTIES

                                      CORPORATE DEFENDANTS

              4.     P laintiff brings this action for and on behalf o f Johnson County, which

       provides a ,vide range o f services on behalf of its residents, including, but not limited to,

       services for families and children, public health, public assistance, law enforcement, and

       social services, as well as medical and prescription benefits that the County provides to its

       employees and retirees.

              5.      Purdue Pharma L.P. is a limited partnership organized under the laws of

       Delaware with its principal place o f business in Stamford, Connecticut.     Purdue P harma

       Tnc. is a New York corporation with its principal place of business in Stamford, Connecticut

       The Purdue Frederick Company is a Delaware corporation with its principal place of

       business in Stamford, Connecticut. Purdue Pharmaceuticals L.P. is licensed by the Food &

       Drug Safety Licensing Group of the Texas D epartment of State Health Services ("DSHS")

       as a manufacturer and/ or distributor of prescriptio n drugs in T exas (collectively "Pmdue").

              6.      Purdue manufactures, promotes, sells, and distributes o pio ids nationally and

       in Johnson County, including amo ng th em OxyContin, ·Ms Cantin, Dilaudid/Dilaudid HP,

e      Bucrans, Hysingla E R, and Targiniq ER. OxyContin is Purdu e's best-selling opioid. Since
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       PLAINTlff'S OIUGINAL PETITION                                                     Pa


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Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 8 of 36




billion, up four-fold from its 2006 sales of $800 million. OxyContin constitutes roughly 30%

of the_entire market for analgesic drugs (painkillers).

       7.      Purdue is engaging in business in the Stace of Tex.as but has not designated

or.maintained a resident agen t for service of process. Therefore, Purdue can be served in

accordance with TEX. Clv. PR.AC. & R.El\·I. CODE §17.042 and § 17.044 by serving the

Secretary of the State of Texas, P.O. Box 12079, Austin, Texas 78711-2079.

       8.      Cephalon, Inc. ('Cephalon.") is a Delaware corporation with its principal

place of business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon. Teva

Pharmaceutical Industries, Ltd ("Teva, Ltd.") is an Israeli company with its corporate

headquarters in Petah T ikva, Israel. Teva Pharmaceuticals USA, Inc. ("Teva USA") is a

wholly-owned subsidiary of Teva Ltd. and is a Delaware corporation with its principal place

. of business in Pennsylvania. T eva USA acquired Cephalon in October 2011. Teva, Ltd.,

Teva USA, and Cephalon, Inc. (collectively "Cephalon") work together closely to market

and sell Cephalon pro duces in the State o f Texa s. Teva conducts all sales and marketing

activities for c;:ephalon in the State of Texas through Teva USA and has done so since it's

October 2011 acquisition of Cephalon...

       9.      Cephalon     manufactures, p romotes, sells, and/or distributes o pioids

nationally and in J o hnson County, including 1\ctiq and Fentor, for which Cephalon is

identified as the drug sponsor and T eva USA is identified as the distributor.

        10.    Cephalon is engaging in business in the State of Texas but ha s no t designated

or maintained a resident agent fo r service of process. Therefore, Cephalon can be served




PL,\INTIFF'S ORIGINAL PETITION                                                    Pa
         Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 9 of 36




         Secretary of the State of Texas, P.O." Box 12079, Austin, Texas 78711-2079.

                11.    Janssen Pharmaceuticals, lnc. ("Janssen") is a Pennsylvania corporation with

         its principal place of business in Titusville, New Jersey and is a wholly-owned subsidiary of

         Jo hnson & Johnson (l &J), a New J ersey corporation with its principal place of business in

         New Brunswick, New Jersey. Otho-McNeil-Janssen Pharmaceuticals, Tnc.; now known

         as Jan s_sen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of

         business in Titusville, New Jersey. Janssen Pharmaceuticals, Inc. now known as Janssen

         Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

         Tirusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

         Pharmacc~ticals' stock and corresponds with the FDA regarding) anssen's products. Upon

         information and beLief: J&J controls the sale and development of Janssen Pharmaceuticals'

         drugs and .Jansscn's profits inure to J&J's benefit. (collectively "Janssen").

                12.     Janssen manufacrures, promotes, sells, and/ or distributes opioids nationally

         and in.Johnson Coun ty, including Duragesic, Nucynta and Nucynta ER. lhese opioid drugs

         arc sold bo th directly by Janssen and by third party drug distributors. Janssen is engaging

         in business in the State of Texas but has not designated or maintained a resident agent for:

         service of process. T herefore, Janssen can be served in accordance with TEX. Crv. PR.r\C. &

         R E1\1. CODE §17.042 and § 17.044 by serving the Secretary of the State o f Texas, P.O . Box

         12079, A ustin, Texas 7871 1-2079.

                 13.    Endo Health Solutions, Inc. is a Delaware corporatiq n with its principal place

~        of bu•siness in Malvern, Pennsylvania.       E ndo P harmaceuticals, Inc. is a wholly-owned
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         PLAINTIFF'S ORIGINAi. PETITION                                                    Pa
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       Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 10 of 36




       place of business in 1Vfalvern, Pennsylvania (collectively "Endo.").

                14.    Endo manufactures, promotes, sells, and/or distributes opioids nationally

       and in Johnson County, including Opana and Opana ER: Opana ER is reponed·to have

       been prescribed up to 50,000 times per day. However, June 8, 2017, the U.S. Food and

       Dmg Administration requested that Endo remove Opana ER from the market based o,~

       FDt\'s concern that the benefits of the drug may no longer o utweigh its risks. Endo is

       engaging in business in the State of Texas but has not designated or maintained a resident

       agent for service of process. Therefore, Endo can be senred in accordance with TEX. CIV.·

       PR.AC.   & REl\L CODE§ 17.042 and§ 17.044 by serving the Secret'lt)' of the State of Texas,

       P.O. Box 12079, i\usrin, Texas 78711-2079.

                15.    t\bbott Laboratories is an Illinois corporation with its principal place of

       business in Abbott Park, Illinois.     Knoll Pharmaceutical Company is a wholly-owned

       subsidiary of Abbott Laboratories and is a New J ersey corporation with its principal place

                                                            11
       of business in Parsippany, New Jersey (collectively 1\bbott").

                16.    t\bbott currently and/or historically manufactures, promotes, sells, and/or

       distributes opioids nationally and in J ohnso n County, including Vicoprofen and Dilaudid .

       .Abbott Laboratories can be served by serving its registered agent as follows: CT

       Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

                17.    1\llergan PLC is a public limited company incorporated in Ireland with its

       principal place of business in Du bl.in Ireland. Actavis PLC acquired Allergan PLC in March

e      2015, and the combined company changed its name to Allergan PLC in January 2013.
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 s     PLAINTIFF'S ORIGINAL PETITION
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      Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 11 of 36




      combined company changed its na~e to Allergan Finance, LLC as of October 2013. Watson

      Laboratories, Inc. is a Nevada corporation with its principal place of business in C?rona,

      California, and is a. wholJy-owned subsidiary o f Allergan PLC (f/k/a J\ctavis, loc., f/k/a

      \'(lacson Pharmaceuticals, Inc.). 1\cravis Pharma, Inc. (f/k/a Actavis, Inc.) is a Delaware

      corporation with its principal place of business in New Jersey and was formerly known as

      Warson Pharma, Inc. 1\ctavis LLC is a Delaware limited liability company with its principal

      place of business in Parsippany, New Jersey. Each of these Defendants is owned by AJJcrgan

      PLC, which uses them to market and sell its drugs in Texas. Upon information and belief,

      1\llergan PLC exercised control over these marketing and sales efforts and profits from the

      sale of t\llergan/Acravis products ultimately inure to its benefit (co llectively "Actavis.").

             18.     ActaYis manufactures, promotes, sells, and/or distributes opioids nationally

      and in Johnson County, including generic Oxyconti.n (oxycodone hydrochloride) and

      Dilaudid (hydromorphone hydrochloride).          1\llergan Sales is identified as the sponsor

      and/or entity resp onsible for the manufacture and/or distribution of the opioid medication

      Fiorinal with codeine O"Di\. NDA # 019429). Actavis acquired the rights ro another opioid,

      Kadian (morphine sulfate, NDA # 020616), from King Pharmaceuticals, Inc. on December

      30, 2008, and began marketing K.adian in 2009._

              19.    Acravis is engaging in business in the State of Texas but has nor designated

      or maintained a resident agent for service of process. Therefore, Actavis can be served in

      accordance with TEX. Civ. PR..-\C. & RE:M. CODE § 17.042 and § 17.044 by serving the

C!)   Secretary of the Sta te of Texas, P.O. Box 12079, J\ustin, Texas 78711-2079.
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       Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 12 of 36




       ·manu faccurer and/or distributor. 111e entities that are licensed by DSHS to conduct

       business in T exas as domestic licensees are: 1\llergan Sales LLC 8301 Mars Dr. Waco, Texas

       76712 Allergan USA Tnc., 800 Waters Riclge Dr. 100, Lewisville, Texas 75057

                 21.   Plaintiff alleges that Allergan Sales LLC and .Allergan US1\ Inc. are domiciled

       in the State of Texas and arc proper parties who may be sued under their assumed o r

       common names for enforcing for or against it a substantive right TEX. R. CIV. P. 28.

       Allergan Sales LLC and Allergan US1\ Inc. may be served at the above addresses.

                 22.   Insys Therapeutics, lnc. ("Insys") is a Delaware corporation \vi.th its principal

       place of business in Chandler, Arizona.         In sys manufactures, promotes, sells, and/or

       djsrributes opioids nationally and in Johnson County, including Subsys (fentanyl sublingual

       spray).

                 23.   lnsys can be served by serving its registered agent as follo\vs: CT Cocporation

       System, 1999 Bryan Street, Suite900, Dallas, Texas 75201-3136.

                 24.   Jnsys has elected to do business in Texas under a license as a domestic drug

       manufacturer and/ or distributor.' The entity that is licensed by OS.HS to conduct business

       in Texas as a domestic licensee is: Insys Manufacturing LLC 2700 Oakmont Drive Round

       Rock, Texas 78665.

                 25.   Plaintiff alleges that lnsys Manufacturing LLC is domiciled in the State of

       Texas and is a proper party who may be sued under its assumed or common name for

       enforcing for or against it a substantive right. TEX. R. Crv. P. 28. lnsys Manufacturing may

r::i   be served at the above address.
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,z,              26.   1VIcKesson Corporation


       PLAIN'rlFf'S ORIGINAL PETITION
      Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 13 of 36




      principal place of business m San Francisco, .California. McKesson cfo;tributes

      pharmaceuticals to retail pharmacies and institutional providers across the United States,

      including Texas and John son County.       The drugs distributed by ivlcKesson include

      powerful, addictive opioids, such as oxycodone and hydrocodo ne.

             27.    i\kKcsson is en~gingin business in the State of Texas but has not designated

      or maintained a resident agent for service of process. Therefore, l'vicKesson can be served

      in accordance with TEX. Ov. PRt\C. & REn CODE§ 17.042 and§ 17.044 by serving the

      Secretaq1 of the Seate of Texas, P.O. Box 12079, Austin, Texas 78711-2079.

             28.    McKesson has elected to do business in Te..xas under a license as a domestic

      drug manufacturer and/ or distributor. There are three "McKesson" entities that are licensed

      by DSHS to conduct business in Texas as domestic licensees.

             29.    Plaintiff alleges that McKesson Corporation and McKesson Medical-Surgical

      Inc. arc domiciled in the State of Texas and. are proper parties who may be sued under their
                                    '
      assumed common name for enforcing for or against it a substantive right TEX. R. Ov. P.

      28. McKesson Corporation and McKesson Medical.:.Surgical Inc. may be served at the above·

      addresses.

             30.    Cardinal Health, Inc. ('Cardinal") is an Ohio Corporation with its principal

      place of business in Dublin, Ohio. Cardinal distributes pharmaceuticals to retail pharmacies

      and instirutional providers across the United States, including Texas and Johnson County.

      The drugs disc:ributed by Cardinal include powerful, addictive o pioids, such as oxycodone

e     and hydrocodone.
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      PLAINTIFF'S ORIGINAL PETITION                                                    Pa


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Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 14 of 36




or maintained a resident agent for service of process. Therefore, Cardinal can be served in

accordance with TEX. Ov. PRAC. & RHL CODE § 17.042 and § 17.044 by serving the

Secretary of the Stace of Texas, P.O. Box 12079, t\ustin, Texas 78711-2079.

       32.
                  ..
              Cardinal has elected to d o business in Texas under a license as a domestic

drug manufacturer and/or distributor. There are nine ''Cardinal" entities _that are licensed

by DSHS to conduce busines·s in Texas as domestic licensees.

       33.    Plaintiff alleges chat Cardinal Health 110 LLC, Cardinal Health 200 LIA and

Cardinal Health 414 LLC are domiciled in the State of Texas and are proper parties who

may be sued under their assumed or common name for enforcing for or against it a

substantive right Tex. R. Civ. P. Cardinal Health 110 LLC, Cardinal Health 200 LLC, and

C8rdinal Health 414 LLC may be served at the above addresses.

       34.    i\merisource Bergen Drug Corporation ('J\merisource 1s a Delaware

Corporation with its principal place of business in Chesterbrook, Pennsylvania.

1\merisource distributes pharmaceuticals to retail pharmacies and institutional providers

across the United States, iricludi_ng Te:--as and Johnson County. The drugs distributed by

1\merisource include powerful, addictive opioids, such as oxycodone and hydrocodone.

       35.    Amerisource is engaging in business in the State of Texas but has not

designated or maintained a resident agent for service of process. Therefore, 1\merisource

can be served in accordance with TEX. Crv. PR,:\C. & RE1\L CODE § 17 .042 and § 17 .044 by

serving the Secretary of the State of Texas, P.O. Box 12.079t\ustin, Texas 78711-2079.

       36.    1\merisource has elected to do business in Texas under a license as a domestic




PL,\INTffF'S ORIGINAi, PETITION                                                  Pa
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 15 of 36




by DSHS to conduct business in Texas as domestic licensees, ii:1cluding: Amerisource

Berge11 Drug Corporation 12727 W. Airport Blvd. Sugarland, Texas 77478

       37.     Plaintiff alleges that AmerisourceBergen D rug Corporation is domiciled in

.the State of Texas and is a proper party who may be sued under its assumed or common

name for enforcing for or against it a substantive right. TEX. R. Crv. P. 28. Amcrisourcc .

Bergen Drug Corporation may be served at the above address.

       38.     Mallinckrodt PLC ("Mallinckrodt") is an Irish public limited company with

its corporate headquarters in Staines-Upon-Thames, Surrey, United Kingdom and maintains

a U.S. headquarters in St. Louis, l\'1issouri. i\fallinckrodtdistributes pharmaceuticals to retail

pharmacies and institutional providers across the United States, including Texas and

Johnson County.      1be drugs distributed b); 1vfallinckrodt include powerful, addictive

opioids, such as oxycodone and hydrocodone.

        39.    Abbvie, Inc. ("Abbvie'') is a Delaware corporation with its principal place

 of business in North Chicago, Illinois, and may be served through its registered agent for

 service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas

· 75201. Knoll Pharmaceutical Company ("Knoll") has been a wholly-owned subsicliary of

i\bbvie from January 1, 2013. Knoll is a New Jersey corporation with its principal place

 of business in Parsippany, New Jersey, and may be served through its registered agent for

 service of pcocess, CT Corporation System, 350 N St Paul Street, Dallas, Texas 75201.

        40.    Knoll irresponsibly marketed narcotics, such as Vicodin, through toys and

-souvenirs and did so to boost the sales of opioids. Taking advantage of the fact that Vicodin

 was not regulated as a Schedule 11 controlled substance for many

 PLAINTIFF'S ORIGINAL PETITION
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 16 of 36




physicians and consumers did not fully appreciate the highly addictive nature of Vicodin,

Knoll advertised Vicodin with tag lines such as "The Highest Potency Pain Relief You

Can Still Phone In." This tag line came as pan and parcel of souvenirs like a "Vicodin"

fanny pack and water bottle, both bearing the name of Vicoclin, the opioid Knoll was

promoting. This irresponsible marketing of a narcotic drug caused doctors and patients to

believe Vicodin was safer than it really was, to the detriment of people in Johnson County.

J\bbvie began manufacturing, developing, promoting, marketing, and selling the opioid

drug, Vicodin, in tJ,e U.S. and its opioid business impacts Johnson County. On information

and belief, it continues to do so at the time of filing this pleading.

       41.     CVS Health ("CVS") is a Delaware corporation with its principal place

of business in Rhode Island. CVS is engaging in business in the State of Texas but has not

designated or main rained a resident agent for service of process. Therefore, CVS can be

served in accordance with TEX. Crv. PR.AC. & R.Ei\!. CODE§ 17.042 and§ 17.044 by serving

the Secretary of the State of Texas, P.O. Box }2079, Austin, Texas 78711-2079. During all

relevant times, CVS Health has sold and continues to sell prescription opioids in and ip

close proxi.m.iry to Johnson County.

        42.    Walgreens Boots r\lliancc, Inc., a/k/ a Walgreen Co. ("Walgreens") is a

Delaware corporation with its principal place of business in Illinois and may be served

through its registered agent for service of process, The Prentice-Hall Corporation System,

Jnc., 211 E. 7111 Street, suite 620, .Austin, Texas 78701. Ju all relevant times, \Xlalgreens has

sold and continues    to   sell prescription opioids in close proximity to Johnson County.

        43.    Wal-Mart Scores, Inc. ("Wal-Mart") is a Delaware


PLAINTIH'S ORIGINAL PETITION
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 17 of 36




principal place of business in Arkansas and may be served through its registered agent for

service of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas

75201. At all relevant times, Wal-Mart has sold and continues to sell prescription opioids

at locations in and in close proximity to Johnson County.

         44.   The foregoing parties are referenced in chis petition as the "corporate

Defendants" or as the "Defendants."

                            INDIVIDUAL DEFENDANTS

         45.   Defendant John Tai Dang, M.D. ("Dr. Dang'') is a medical doctor who

resides in and was previously.licensed to practice medicine in Cleburne, Texas. He may be

served with citation at 110 \Xlest Henderson Street, Cleburne, Texas 76033.

         46.   Dang ?vledical Clinic, P.A, is a business providing medical services to patients

in Cleburne, Tex,is. Dang J\,fedical Clinic is owned and operated b)' Dr. Dang. Dang

lvfedical Clinic, P.J\. may be served citation at 1005 \Xloodard Avenue, Cleburne, Texas

76033.

         47.   Dang Occupational Consultants, Tnc., is a business providing medical services

to patients in Cleburne, Texas Dang Occupational Consultants, Inc. is owned and operated

by Or. Dang. Dang Occupational Consultants, Joe. may be served citation at 510 F.1'vf.

1434, Cleburne, Texas 76033.

                 FACTUAL .ALLEGATIONS APPLICABLE TO ALL DEFENDANTS

         48.   1be widespread .use of opioid drugs is the direct result of a concerted indusu-y

scheme that ha s evolved over the past two decades. The Defendants and their affiliates




PLAINTIFF'S ORIGINAL PETITION
      Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 18 of 36




      for these products; relying on false science, which was fre9uently the woi:k of their own

      "product cha~pions"; enlisting either unwitting or complicit health providers as their

      advocates and accomplices; and saturating the direct to consumer market            with false

      advertising, promotions, and reassuring messages, all of which were calculated to cause and

      did cause cons umers in Johnson County to seek out these medications. In short, these

      Defendants expanded the market for opioids beyond that for which it was originally

      intended and created a disaster of gargantuan proportions, the likes of which has never been

      seen in the pharmaceutical industry.

             49.      "These Defendants successfully created and nurtured an env1ronmenc in

      which opioid abuse ,vas a virtual certainty. By spending milli~ns of dollars to convince the

      populace that they needed and would benefit from the use of Defendants' opioid drug:.;,

      these tortfeasots produced a network ·of drug distributors, dispensers and prescribers who

      preyed upon a generation of dependent drug users and abusecs who believed their physical

      ailments were being appropriate!)' created by the Defendants' prescription drugs. It came

      to pass, unforrunately, that the Defendants' primary success was in constructing a

      population of citizens whose initial use of opioids was legal and legitimate, but whose use

      ultimately transformed into an addiction that could be fulfilled only by the use of illegal

      street drugs.

             50.      i\ recent report on the evolution of the use of opioids in Texas shows that it

      impacts urban and rural citizens; men and women; young, middle aged, and old; all races

c:i   and creeds; and bod1 the rich and the poor are vulnerable to the enticement of opioids. No
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Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 19 of 36




either directly and indirectly.

         51.   This industry-wide misbehavior has overwhelmed society in general and

 .Johnson County in particular. On a national scale, the magnitude of the opioid crisis is

 incomprehensible. l\fost tragically, drug overdose and opioid-related deaths continue to

 increase in the United States. Drug overdose is the leading cause of accidental dear;h in

 the US, with 52,404 lethal drug overdoses in 2015.         Opioid addiction is driving this

 epidemic, with 20,101 overdose deaths related to prescription pain relievers; and 12,990

 overdose deaths related to heroin in 2015.

         52.    Despite assurances from industry that efforts arc being made to minimize

 the harm caused by opioid use, drug overdose deaths and opioid-involved deaths continue

 to increase in the United States. The majority of drug overdose deaths (more than six out

 of ten) involve an opioid. From 2000 to 2015, more than half a million people died from

 drug overdrn,es. Ninety-one 1\mericans die every day from an opioid overdose. This

 plague affects all age groups.

         53.    The societal impact of controlled prescription drug diversion and abuse is

 considerable. Violent and property crime associated with drug diversion and abuse has

 increased in all regions of the United States over the past 5 years, according to the

 National Drug Intelligence Center (NDIC) National Drug 1hreat Survey (NOTS). On a

 broader scale, the Centers for Disease Control and Prevention estimates that the total

 "economic burden" of prescription opioid misuse alone in the United States is $78.5

 billion a year, including the costs of healthcare, lost productivity, addiction treatrnenr, and

 criminal justice involvement.

PLAINTIH'S ORIGINAL PETITION
    Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 20 of 36

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            54.    These harms have likewise been manif~sted in Johnson County, Texas

     Opioid prescribing rates in Johnson County historically have been above average and as

     high as 90.9 prescriptions per 100 persons. The vast majority of drug users and abusers -

     94.52% - need addiction treatment but receive none, and a quarter of these patients have

     no health insurance, thereby imposing a huge hc~thcare burden on the county and its

     residents. Texas also ranks first nationally in pharmacy burglaries, representing 30% of

     the national total.

            55.    Of the more than 33,000 opioid-related deaths in the United States in 2015,

     2588 were in Texas, including in Johnson County. While Texas has worked tirelessly to

     combat the opioid contagion, the rate of increase of overdose deaths has increased from

     1.5 per 100,000 in 1999 to 4.2 per 100,000 in 2014. More specifically, in Johnson County,

     the rate of overdose deaths has increased from 4.1-6 per 100,000 in 1999 to 12.1-14 per

     100 000 in 2015.

            56.    The abuse of prescription opioids has contributed to another unfortunate,

    · but foreseeable, phenomenon: the increase in the use of "recreational" opioids, namely

     heroin. Many patients who are prescribed opioids for medical purposes become addicted

     and believe they have no alternative but to turn to illegal opioids. The inevitable result of

     this drastic increase in the use of heroin has been a commensurate increase in heroin-

     related deaths, as with other opioids.

             57.   Texas and Johnson County have been particularly impacted by the rise in

     heroin use and have seen a prolific increase in the mortality rates of deaths due to heroin,
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 21 of 36




 Defendants bear substantial responsibility for the proliferation of illegal opioid drug use.
                                                                                    ,,
 Research shows that approximately 80 percent of people who use heroin first misused

 prescription opio ids.

         58.     1'vfany members of the public were first exposed co opioids through legitimate

 prescriptions     for acute    pain   dispensed   by well-meaning healthcare providers.'

 Unfortunately, a significant p ercentage of these p atients became dependent o n the highly

 addictive medications, through no fault of their own, and eventually succum b ed to the

 temptation to expetiment ,vith illegal street drugs. ln fact, the CDC has presented data to

 show that the probability of lon g-term opioid u se increases most sharply in the first days

 of therapy, p articularly after 5 days or 1 month of opioids have been prescribed. Based

 on the CDC data, patients receiving less than 8 days-worth o f opioids had a 13.5%

 likelihood of long-term u se. 'M ore astonishingly, patients receiving a prescription for at

 least a 31 -day supply showed a 29. 9% likelihood o f long-terms use.

         59.     Once hooked on a prescription opioid, the subpopulatio n that succumbs to

 addiction fregu_ently shifts to heroin as prcsctiption drugs become less available. Data

 shows that recent increases in heroin use accompanied a downward trend in Oxycontin

 u se.

         60.     Across the Nation , the next gen eration ofleaders, workers, and parents have

 succumbed to a horrific increase in the risk of deaths from the use of heroin and od1cr

 opioids

         61.     The epidemic caused by the collective actions of the Defendants has also

 impacted the most inn ocen t members of sociecy - our children.


PLAINTI FF'S ORIGINAL PETITION
     Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 22 of 36




      relievers increased among all populations, including women of reproductive age and

      pregnant women. A recent CDC report found that nearly a third of women of

      reproductive age were prescribed an opioid in the previous year. Since 2000, there has

      been a drastic increase in the rates of opioid use disorder among pregnant women and the

      number of newborns diagnosed \v:ith opioid withdrawal after birth, kno,vn as neonatal

/·
      abstinence syndrome (NAS). In 2012 alone, one child was born every 25 minutes with

      NAS. Not only is this condition traumatic for the child and the family, but it poses a

      prohibitive financial burden on the residents of Johnson County. The costs of creating

      children diagnosed with NAS are exponentially higher than the costs associated with

      newborns not affected with N1\S: an a,rerage of $66,700 compared to S3,500 cost for

      healthy newborns.    Additionally, the long-term outcomes of the neonatal abstinence

      syn drome arc difficult to predict, but likely include adverse cognitive effects throughout

      childhood, mental health and behavioral problems, and physical disabilities, the costs of

      which arc likely to be borne by the citizens of Johnson County for many years to come.

             62.   While opioid use proliferated, and its insidious and devastating effects were

      hoisted upo n the citizens o f J ohnson County and the Nation, the companies responsible

      for this scourge pro fited in a m anner incomprehensible to even the most cynical members

      of society. _One report estimated that 254 million opioid prescriptions were filled in 2010

      alone, enough to medicate every adult in the U.S. for a month o n a round-the-clock basis.

      ln that sam e year, pharmaceutical companies generated revenues of $11 billio n from

      opioid sales alone. The opioid market is now worth nearly S10 billio n a year in sales in

      the United States, according to a 2016 report.

     PLAINTIFF'S ORIGINAL PETITION
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 23 of 36




        63.    Between 1999 and 2014 sales of prescription opioid drugs almost quadrupled

 in America, not simply in respon se to patient su ffering, but because an ever-increasing

 portion of po pulation is now addicted to these powerful drugs. Americans now consume

 four-fifths of the global supply of opioids.     1 his increase in opioid sales has been

 accompanied by a startling, commensurate increase in the races of opioid treatment

 admissions.

        64.    The sales of these drugs were reflec ted m astronomical salaries for the

 exec1:Jtives who made the decisions to create, market, and exploit these dangerous

 controlled substances. \Thie certain compensation information is not publicly available,

 published sources rep ort that in 201 6, the CEO of Allergan (BrentQn L. Saunders) was

 paid over $21 million; the CEO of Johnson & Johnson (1\lex Gorsky) was paid over $21

 million; and the CEO of Abbott (Miles \'v'hite) was paid $18.8 million. O ne of the most

 glaring direct results of the opioid epidemic has been the obscene profits enjoyed by the

 Defendants and the exorbitant salaries for their chief executives.

        65. · Internal documents dearly establish that the Defendants sought      to   avoid

 scrutiny o f these dangerous controlled substances by utilizing seemingly independent

 third-party health care organizations   to   promote the use of these drugs. With this

 unscrupulous machination plotted out, the industry manipulated the flow of information

 about these opioid controlled substances to the medical community and their patient~.

 Support for the use of these medications came from such seemingly independent

 organizations as the Federation of State i\.fedical Boards ('FSi\ 1B"), the J\merican Pain
                                                                  1
         Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 24 of 36




          Geriatrics Society ('ABS"). These groups touted the benefits of long-term opioid use for

          chronic pain, all while claiming to be solely focused on patient wellbeing.            These

          organizations were in fact nearly fully-funded by the Defendants for the sole purpose of

          convincing the public and the medical community that these. seemingly independent pain

          organizations believed in the virtues of opioid use. Tn fact, these organizations, funded

          by the Defendants, served only to distribute false information regarding the dangers of

          abuse and addiction historically associated with these drugs.

                 66.   The FS:tvIB is a trade organization representing various state medical boards

          across the United States.    The state board members are healthcare providers or are

          otherwise associated ,vith the healthcare industry, and have the power to license doctors,

          investigate complain cs, and discipline physicians. The FSivIB finances opioid and pain

          specific programs through grants from Defendants.

                 67.   J\ 2004 iteration of the FSIVIB Guidelines, as well as and the 2007 book

          adapted from the 2004 guidelines, Responsible Opioid Prescribing, taught not that opioids

          could be appropriate in -limited cases or after o ther treatments had failed, but that opioids

          were "essential" for treatment of chronic pain, including as a first prescription option.

          Unbelievably, the regulations changed so that doctors could be censw:ed or have other

          action taken against them for failing to use opioids as a treatment of first choice. T hese

          guidelines, posted online, were available to and intended to reach Texas physicians.

                 68.   The publication of Responsible Opioid Prescribing was backed largely by

c!l       drug manufacrurers, including Cephalon, Endo, and Purdue. The FStvIB financed the
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Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 25 of 36




 with drug companies, including Endo and Cephalon, for bulk sales and distribution of the

 guideLines to sales representatives for subsequent distribution to prescribing doctors.

         69.   In fact, 163,131 copies of Responsible Opioid.Prescribing were distributed

 to state medical boards and through the boards, to practicing doctors. Not surprisingly,

 FS~ ffi bcnefitted from the distribution of this publication by earning approximately
     1




                                                                   ' describes the
 $250,000 in revenue and commissions from their sale. Toe FSMB website

 book as the "leading continuing medication education (Ci\{E) for prescribets of opioid

 medications."

         70.   Locally, the Texas Pain Society had an active presence in Johnson County

 and offered guidance to physicians and patients on the issue of pain management. The

 "TexasPain.org" website, for example, assured patients about the safe use of opioicls,

 seating: "Research shows that the chance of people with chronic pain becoming addicted

 to pain-relieving drugs is c..,tremely small. When taken properly for pain, drugs can relieve

 pain without addiction. Needing medication to control )'Our pain is not addiction." t\gain

 unsurprisingly, the Texas Pain So~iety was in fact an organization supported by various

 nJernbers of the pharmaceutical industry, including Purdue, Endo, and Cephalon.

         71.   This type of industry-supported "advice" was a substantial impetus for

 patients to seek out, doctors to prescribe, and pharmacies to dispense immense amount"

 of opioids. As an example, Dr. John Dang had his Texas Medical Board license suspended

 for, among other violations, violating the Board rules regarding the treatment of pain.

 Specifically, Dr. Dang prescribed dangerous controlled substances, including Opana

 (Oxymorphone       Hydrochloride)    and   Xartemis    (Oxycodone

PLAINTIH'S ORIGINAL P1-: nnoN
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 26 of 36




 J\cetaminophen) to a patient after b.ecoming aware that the patient had a history of drug

,abuse and ·after the patient was admitted to a recovery and treatment program for

 addiction to opioid controlled substances. Such reckless and greedy abuses of prescriptive

 rights by physicians have contributed significantly to the opioid epidemic in Johnson

 County.

        72.   ''f1ic hardship attributable to this disaster has been disproportionately borne

 by the youth of Texas. According to recent survey, as of 2016, at least 5 % of Texas youth

 reported using opioid medications pandered by the Defendants ac some point during their

 lifetime. A shocking 2.4% of the surveyed population reported using tl1ese drugs in the



        73.   The Defendants violated numerous provisions of Texas law and now must

 answer to the Court and the citizen s of Johnson County, Texas.

                 FACTUAL ALLEGATIONS APPLICABLE TO
           JOHN TAI DANG. M.D .. DANG MEDICAL CLINIC. P.A.. AND
              DANG OCCUPATIONAL CONSULTANTS. INC.

       74.    John Tai Dang, l\{.D., was previously licensed physician in Johnson County,

 Texas. Dr. Dang created a public nuisance through the issuing of prescriptions outside

 the usual course of practice and for other than a legitimate medical purpose.         Such

 dispensing was performed primarily for monetary gain and provides ample evidence of a

 conspiracy to profit from a known public nuisance.

       75.    Dr. Dang's illegitimate endeavors in dispensing dangerous controlled

 substances were performed through his work at Dang Medical Clinic, P.A. and Dang

 Occupational ConsuJrnnts, Inc.

PLAINTIFF'S ORIGINAL PETITION
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 27 of 36




      76.     T he evidence \,~11 establish that the af=tivities of Dr. Dang crea~ed a public

 nuisance which resulted in financial-losses to Johnson County, and for which the County

 now seeks all remedies, both legal and equitable, to which it is entitled.

                     FIRST CAUSE OF ACTION AGAINST ALL
                               DEFENDANTS:

                                A. PUBLIC N U ISANCE

       77.    Johnson County re-alleges and incorporates by reference each of the

 allegations contained in the preceding paragraphs of this petition as though fully alleged

 herein.

       78.    Texas law forbids the maintenance of a public nuisance. A "public" or

 "common" nuisance is defined in the Terns common law as a field of tort liability, a kind

 of damage done, rather than any particular type of conduct. 1\s in the case of any other

 kind o~ damage, ic may be inflicted by conduct which is intended co cause harm, by that

 which is merely negligent, or by that which involves an unusual hazard or risk. 1\ cause

 of action for public nuisance may be prosecuted, therefore, when the Defendants'

 conduct unreasonably interferes ·with a right common to the public at large by affecting

 the public health or public order.

     . 79.    The character of the Defendants' conduct and their commensurate liability

 for the same, is measured using an objective standard. The expectations and demands of

 the community thus serve as the yardstick by which the reasonableness of the actors'

 behavior is to be judged.

       80.    Tn    addition,   statutorily   prescribed   conduct    may     determine



PLAINTIFF'S ORIGINAL PETITION                                                     Pag
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 28 of 36




 reasonableness of the Defendants' business operations. It is alleged that the Defendants'

 conduct was unreasonable and tortious in numerous respects o f their business in the

 manufacture, delivery, dispensation , or distribution of their opioid medications.

      81.     Johnson County, has standing to bring this claim of public nuisance against

 all Defendants for damages, injunctive relief, and abatement of such public nuisanc~. T he

 Texas law of public nuisance provides various remedies to damaged or injured parties

 when confronted with a public nuisance created by the conduct, in whole or in pare, by

 the Defendants.

       82.    By engaging in the conduct referenced in this petition, the manufacturing

 Defendants, distributor Defendants and individual Defendants, individually and

 collectively, created a public nuisance by unreasonably interfering with a public right and

 public interest. Pleading further in the alternative, the conduct referenced hereln was

 abnormal, dangerous and out of place in its surrow1dings, and constitutes a public

 nuisance. Such co nduct constituted significant interference with the public's health and

 safety, and adversely_ affected all or a considerable part of the Johnson County

 community.

       83.    Plaintiff contends that the wrongful acts in which the Defendants engaged

 were coordinated with other members of this industry, all of whom were acting in concert

 to achieve a common objective, \vhich when achieved created a public nuisance. The

 conduct of the Defendants has created a nuisance which has resulted in injuries, damages,

 and deaths that adversely affected the citizens of J ohnson County. The harm suffered is




PLAINTIFF'S ORIGINAL PETITION
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 29 of 36




 aspects of the opioid epidemic including healthcare, law enforcement, and social services

                       B. TEXAS COMMON LAW NUISANCE

       84.    By engaging in the conduct referenced above, the Manufacturing

 Defendants, Distributor Defendants and Doctor Defendant, individually and collectively

 created a public nuisance by unreasonably interfering with a public right and pu_blic

 interest. Such conduct co nstituted significant interference with the public's health and

 sa fety, and adversely affected all or a considerable part of the Johnson County

 community. All such Defendants acted with intent with respect to the nature and result

 o f their conduct, and it was their conscious objective and desire to engage in such conduct

 and co produce such resuJc as described herein. Pleading in the alternative, the conduct

 referenced herein in the creation of a public nuisance was committed by all Defendants,

  negligently. Pleadjng in the alternative, the conduct referenced herein was abnormal,

 dangerous and out of place in its surroundings and constitutes a publjc nuisance. Plaintiff

 .J o hnson County has standing to bring this claim of p ublic nuisance against all Defendants.

                            SECOND CAUSE OF ACTION AGAINST
                           ALL DEFENDANTS: CIVIL CONSPIRACY

       85.    J o hnson County re-alleges and incorporates by re ferenc e · each of the

  allegations contained in the preceding paragraphs of this p etition as though fully alleged

  herein.

       86.     The conduct of aU Defendants as described above was done in furtherance

  o f a conspiracy. T he joined Defendants had knowledge of, agreed to, and intended a




PLAINTIFF'S ORIGINAL PETITION
     Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 30 of 36

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      unlawful purpose, and commined one or more unlawful, overt acts in furtherance of the

      same that resulted in the damages that Plaintiff has sustained and continues to sustain on

      a regular basis. All the Defendants performed acts to further the conspiracy and are

      jointly and severally liable for the damages, costs and expenses associated with their

      conduct.

            87.    More specifically, the Defendants coordinated their efforts to create a

      market for their opioid medications through industry-created misperception of the

      benefits and risks of these drugs. The specific actions taken by the Defendants have been

      described elsewhere in this pleading but include the support and dissemination of medical

      and promotional information calculated to assure prescribers and patients of the safety

      of these drugs. This co mmo n behavior was illegal and tortious in many respects and was

      a direct cause of the propagation of both legal and illegal opioid drug use.

            88.    The conduct of the Defendants demonstrates the method of accomplishing

      the objective of the civil conspiracy. The Defendants prescribed and dispensed rnillions

      of doses of opioids under the auspices of a distribution srstem that purported to be

      ''closed" and carefully monitored. The fact chat the Defendants were empowered to make

      available to the public inconceivable quantities of these dangerous controlled substances

      can be explained o nly by concluding that the opioid drug manufacturers and distributors

      knew and supported the behavior of the prescribing physicians. With awareness -actual

      or constructive -of the conduct of the individual Defendants and their ilk, reasonable

      m.inds would necessarily conclude that the corporate Defendants were aware of and




     PLAINTIFF'S ORIGINAL PETITION                                                   Pag
     Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 31 of 36

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      and dispensing by the individual D efendants.

           89.        The medical community and the public rely upon the integrity of

      prescription dnig companies to advertise, promote, and. market their products              in


      conformity with both common law and statuto ry obligations. There· is an overriding

      responsibility to promote these products in a manner that is truthful and that discloses

      important safety information.       Similarly, when drug companies engage in indirect forms

      of communication, they have a concomitant obligation to disseminate only accurate a11d

      honest product information.       Tnis responsibility applies to the mrriad vehicles by which

      drug makers influence product use: marketing brochures for physicians and patients, TV

      commercials, FAQ'S, continuing medical education programs, web sites, and on and on.

      ln all these instances, the members of the opioid drug industry have both common law

      and regulatory restraints that govern their behavior.        It is alleged that the corporate

      Defendants violated these rules and disseminated untrue, misJ·eading, and erroneous

      information about opioids.

            90.        The joined Defendants, corporate and individual, are also guilty of acting in

      concert    tO   profit from the opioid crisis. The.. drug manufacturers and distributors, as

      alleged herein, were responsible for maintaining an environment in which op'ioid drugs

      were available in massive quantities and were subject to significant rates o f diversion to

      illicit uses. Plaintiff contends that the majority of healthcare providers who prescribed

      opioids, and clinics or pharmacies that dispensed them, were legitimate businesses.

       However, there are individuals who take advantage of the pro fligate -system that the

      corporate Defendants supported and supplied.

     PLAINTIFF'S ORIGINAL PETITION
Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 32 of 36




 drug distribution system for profit, and ac the expense of the citizens ofJohnson County.

 However, Dr. Dang would have been unable to perpetrate his torrious acts if the

 corpo;ate Defendants had fulfilled their responsibilities under Texas law to monitor,

 detect, investigate, and report suspicious orders of prescription opiates.

      91.     It is alleged that one or more of the corporate Defendants had actual

 knowledge of the business operations being conducted by Dr. Dang, and continued to

 supply opioid controlled substances to pharmacies filling Dr. Dang's prescriptions, in

 which case the corporate Defendants were active co-conspirators in these operation; in

 the alternative, it is alleged that the corporate Defendants had knowledge of these events

 and passively supported the clinics by failing to monitor, detect, investigate, and

 report susp1c1ous orders of prescription opiates.

       92.    Hence, it is alleged that the Defendants acted in concert with one another,

 with an objective to be accomplished (sales of opioids), a meeting of the minds on th e-

 manner of accomplishing this objective, numerous unlawful, oven acts in. furth.erance of

 this goal, and damages to the citizens of Johnson County, Texas as a proximate result.

           THIRD CAUSE OF ACTION AGAINST THE CORPORATE
                     DEFENDANTS: NEGLIGENCE

       93.    Johnson County re-alleges and incorporates by reference each of the

 allegatiom contained in the preceding paragraphs of this petition as though fuUy alleged

 herein.

       94.    In addition, thereto: (a) Defendancs failed to implement policies and




PLAINTIFF'S ORIGINAL PETITION
              Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 33 of 36

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               the distribution network ; (b) Defendants failed to properly train or require employees

               and affiliates to identify, report, and investigate any improprieties in the flow of opioids;

               (c) As a proximate result, Defendants have caused Johnson County to incur .excessive

               costs to treat the opioid epidemic, including but not limited to, increased costs of social

               services, health systems, law enforcement, judicial system, and treatment facilities.

                                                         DAMAGES

                     95.      Plaintiff has been damaged by Defendants' conduct and can enumerate the

               following items and categories of items that represent the types of damages that resulted,

               directly. and in<lirectlv,
                                       , from the behavior of the named Defendants and their associates:


               The cost of opioid medications that would not otherwise have been prescribed, i.e.,

               unnecessary or excessive opioid prescriptions; work loss expense attributable to

               individuals who arc addicted to opioids or w ho suffer adverse health effects due to use

               of opioids; time and expenses incurred by county criminal justice agencies related to

               handling matters arising from opioid use; law enforcement time and expenses incurred

               by county agencies related to handling matters arising from the opioid epidemic; hospital

               and medical costs associated with ad,rerse health effects from opioid addiction: costs and

               expenses incurred by social services agencies due to the opioid epidemic; costs and

               expenses to third parties due to the conduct of addicts.

                     96.    Plaintiff   \Viii   further explain on the proffered elements of damages and

               quantify the amounts allocable to these categories and items as this case progresses.

                                                   PRAYER FOR RELIEF

              WHEREFORE, Plaintiff respectfully prays:


              PLAINTIFF'S ORIGINAL PETITION
         Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 34 of 36

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                a.     That Defendants be ordered to abate the public nuisance that they created in

                violation of Texas common law.

                b.     That Plajntiff recover all measures of actual dama~ allowable under the law

                as set forth in thjs petition;

                c.      That Plaintiff recover punitive and exemplary damages to the fullest extent

                permitted by law;                   \



                d.      That Plaintiff recover pena_lties or fines authorized by law;

                e.      T hai: Plaintiff recover interest, costs, and expenses as authorized by law;

                f.      That Plaintiff recover its attorneys' fees and all related costs of litigation;

                t\nd for su ch other and further relief to which Plaintiff may show itself entitled, at

         law or in equity.

                                         JURY TRIAL DEMANDED

                Plaintiff hereby demands a trial by jury.


                                                        Respectfully subrnjued,

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                                                        FEARS NACHAWATI, PLLC


         PLAINTII-T'S ORIGINAL PETITION
            Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 35 of 36

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                                               ATTORNEYS FOR THE PLAINTIFF
                                               JOHNSON COUNTY




                                                        CERTIFIED COPY CERTIFICATE
                                                      STATE OF TEXAS - COUNTY OF JOHNSON
                                                                     I H 1:.REBY CERTIFY TH,\T
                                                       THE ABOVE IS ,\ TRllE ;\NI) CORRECT corv OF
                                                       Tm: ORIGINAL RECORD ON Fl LE IN i\l\' OFFICE
                                                                        DAVID R. LLOYD
                                                          DISTRICT CLER!,; - JOIINSON COtlNT\'. TEXAS
                                                      DATE       Nov 17 2018 ,
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              Case 4:19-cv-01637 Document 1-1 Filed on 05/03/19 in TXSD Page 36 of 36

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    I, Marilyn Burgess, District Clerk of Harris
    County, Texas certify that this is a true and
    correct copy of the original record filed and or
    recorded in my office, electronically or hard
    copy, as it appears on this date.
    Witness my official hand and seal of office
    this February 28, 2019


     Certified Document Number:                                83030632 Total Pages: 30




     Maril yn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEX AS




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